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                            Exhibit P
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                 lolonyon Akouete 3rd
                 N/A

                       SMART INVESTORS, LLC

                       Exellence
                 Baltimore, Maryland, United States Contact info
                 225 connections

                   Message         (+   Follow) (More)




                 Activity
                 229 followers

                 lolonyon hasn't posted yet
                 Recent posts lolonyon shares will be displayed here.


                                                  Show all activity 4



                 Experience
                          SMART INVESTORS, LLC
                          14 yrs 7 mos

                          CEO /Owner
                          Jul 2009 - Present • 14 yrs 7 mos

                          Maryland based Real Estate investment company that buy and sell real
                          estate.We specialize in finding properties for investors to rehab. ...see more


                          CEO /Owner
                          Jul 2009 - Present • 14 yrs 7 mos

                          Maryland based Real Estate investment company that buy and sell real
                          estate.We specialize in finding properties for investors to rehab. We provid...



                          N/A
                          N/A
                          2017 Less than a year
                          N/A

                          N/A


                          Independent representative
                          Primerica Financial Services
                          Oct 2008 - Mar 2010 1 yr 6 mos

                          Educate clients, teach them how money works, help families address their
                          most serious financial problems and find solutions....
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                        P - Akouete LinkedIn Page 3 of 3
                           Nutrition staff
                 door.T.
                           Johns Hopkins Hospital
                           Nov 2007 - Jul 2009 • 1 yr 9 mos

                           Food service


                           Floor car technician
                           Sears Holdings Corporation
                           Jan 2007 - Oct 2008 • 1 yr 10 mos

                           Disassembles and/or reassembles product. Performs PM checks, Performs
                           functional test, Updates service order....




                 Education
                           Exellence
                           Hight school, Social sciences
                           2003 - 2005



                           NA




                 Skills
                 Investments
                       Endorsed by Stephen Roulac, PhD who is highly skilled at this

                       8 endorsements



                 Marketing

                       Endorsed by Kim Motta who is highly skilled at this

                       6 endorsements


                                                 Show all 34 skills 4



                 Interests
                 Companies          Groups



                    arks Charles Schwab
                  SCHWAR
                         301,318 followers

                           (+    Follow)



                           E*TRADE from Morgan Stanley
                           134,460 followers


                           e    l- Follow)



                                               Show all companies 4
